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                                  #:3941




                    EXHIBIT 6
      Case 5:18-cv-01882-JGB-SHK Document 164-11 Filed 01/22/20 Page 2 of 14 Page ID
                                        #:3942

Michael Todisco

From:                 Rothrock, Frank (SHB) <frothrock@shb.com>
Sent:                 Monday, January 6, 2020 2:58 PM
To:                   mkanach@grsm.com; Varun Behl
Cc:                   tbranson@grsm.com; hheffner@grsm.com; Michael Todisco
Subject:              RE: Monster/VPX - VPX's Subpoenas to Shook and Marc Miles


Counsel: I believe Mr. Behl's email accurately recites my comments during today's call. We stand on our firm's and Mr.
Miles's objections to the subpoenas and will not undertake further work (e.g., further review of the potentially
responsive documents identified or preparation of a privilege log) pending a ruling on Monster's Motion to Quash, which
we anticipate will be granted. Frank Rothrock


Frank C. Rothrock
Partner
Shook, Hardy & Bacon L.L.P.
5 Park Plaza, Suite 1600
Irvine, CA 92614
949.475.1505 | frothrock@shb.com
949.533.6326 cell




‐‐‐‐‐Original Message‐‐‐‐‐
From: Michael Kanach <mkanach@grsm.com>
Sent: Monday, January 6, 2020 11:43 AM
To: Varun Behl <Vbehl@hueston.com>
Cc: Rothrock, Frank (SHB) <FROTHROCK@shb.com>; Timothy Branson <tbranson@grsm.com>; Holly Heffner
<hheffner@grsm.com>; Michael Todisco <mtodisco@hueston.com>
Subject: Re: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

EXTERNAL

Counsel,

Thanks for your time on another call and your email.

To correct the record, your point 1 is not what I understood Frank said on today’s call or on previous calls. To be clear,
Frank has not made any representations about the quantity of documents or burden of production (while your summary
below says they “have not located any relevant documents of any significance”). If there are not many documents, they
should/could produce them or provide them on a privilege log. That would avoid motion practice. But that’s not the
information Shook Hardy or Mr. Miles have put in writing to us.

I will note that on today’s call, Frank said he either (1) found “significant” emails or (2) that it would take “significant”
work for him to create a privilege log ‐ because of the number of documents that would be responsive to certain
requests that in his opinion would get into pre‐lawsuit attorney work product.

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He also argued that Request No. 2 is irrelevant, to which we disagree. We don’t know whether there are any documents
or a large quantity of documents responsive to that Request.

Regarding timing, I understand Frank said they stopped searching before our December 20 call and would not do more
searching until the Court requires them to do so. We hoped that they would continue searching and provide more facts
today. But I understand that nothing changed between then and today.

I will let Frank clarify if I misunderstood the efforts he made over the last 2 weeks or the quantity of documents ‐ or if he
is willing to provide more about his position in writing before the issue is before the court.

Regards, ‐MIKE


Sent from my iPhone

On Jan 6, 2020, at 11:23 AM, Varun Behl <Vbehl@hueston.com> wrote:


Mike and Frank,

Here is a summary of our call this morning:


1. Frank repeated the points made during our last call on December 20: (i) Shook and Miles have conducted further
searches for documents responsive to VPX’s subpoenas to Shook and Miles; (ii) based on their searches to date, and
subject to their various objections, Shook and Miles have not located any relevant documents of any significance; and
(iii) subject to their various objections, Shook and Miles believe any responsive documents they have located are
privileged. Frank stated that, at this point, Shook and Miles will not be conducting further searches for documents
pending to a forthcoming motion to quash the subpoenas.


1. I asked Mike whether VPX would be willing to withdraw the subpoenas. Mike stated that VPX would not be willing to
withdraw the subpoenas and would leave it to the Court as to whether it would consider this dispute as a motion to
quash brought by Monster and/or as a motion to compel brought by VPX.


1. Counsel for Monster, VPX, and Shook confirmed that they are all available for a conference with the Court on January
8, 10 (except from 11 a.m. to noon), and 13.

Feel free to supplement or edit the above to the extent you feel appropriate.

Thanks,
Varun

Varun Behl
___________________________________

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                                                                                              Exhibit 6, Page 52
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D: 213.788.4525<tel:213.788.4525>
Vbehl@hueston.com<mailto:Vbehl@hueston.com>
Biography<https://urldefense.proofpoint.com/v2/url?u=https‐3A__www.hueston.com_attorney_varun‐
2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=jKQEtUVVb5tEgUOMo0Pz8_lOJXOcvgy1Ssvx9oQOODk&s=6cC
S039UjEtEaxvLGg6sfikj2dErIRh4Pjr6I‐jT6‐w&e=>




From: Varun Behl <Vbehl@hueston.com>
Sent: Friday, December 20, 2019 2:40 PM
To: Michael Kanach <mkanach@grsm.com>; frothrock@shb.com
Cc: tbranson@grsm.com; hheffner@grsm.com; Michael Todisco <mtodisco@hueston.com>
Subject: RE: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Frank and Mike,

Thanks for the meet‐and‐confer call this morning. Here is a brief summary of our call (though feel free to provide any
changes or additions to the extent you feel appropriate):


1. Frank stated that (i) Shook and Miles have conducted further searches for documents responsive to VPX’s subpoenas
to Shook and Miles; (ii) based on their searches to date, and subject to their various objections, Shook and Miles have
not located any relevant documents of any significance; and (iii) subject to their various objections, Shook and Miles
believe any responsive documents they have located are privileged.


1. Frank further stated that, at this point, Shook and Miles will not be conducting further searches for documents
pending to a forthcoming motion to quash the subpoenas.



1. We agreed to have one more follow‐up call on January 6 at 11 a.m. to determine whether it is necessary for Monster
to move to quash. I will circulate a calendar invite.



1. Counsel for Monster, VPX, and Shook are all currently and tentatively available for a conference with the Court on
January 8, 10, and 13. If still necessary, I will confirm that these dates work on January 6.


Best,
Varun

Varun Behl

___________________________________


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HUESTON HENNIGAN

LLP




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Vbehl@hueston.com<mailto:Vbehl@hueston.com>

Biography<https://urldefense.proofpoint.com/v2/url?u=https‐3A__www.hueston.com_attorney_varun‐
2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=jKQEtUVVb5tEgUOMo0Pz8_lOJXOcvgy1Ssvx9oQOODk&s=6cC
S039UjEtEaxvLGg6sfikj2dErIRh4Pjr6I‐jT6‐w&e=>




From: Michael Kanach <mkanach@grsm.com<mailto:mkanach@grsm.com>>
Sent: Friday, December 20, 2019 11:38 AM
To: Varun Behl <Vbehl@hueston.com<mailto:Vbehl@hueston.com>>
Cc: frothrock@shb.com<mailto:frothrock@shb.com>; tbranson@grsm.com<mailto:tbranson@grsm.com>;
hheffner@grsm.com<mailto:hheffner@grsm.com>
Subject: Re: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Yes sorry thought it was 11:45.
Calling in now.


Sent from my iPhone

On Dec 20, 2019, at 11:36 AM, Varun Behl <Vbehl@hueston.com<mailto:Vbehl@hueston.com>> wrote:


Michael, Frank and I are on the line for our call. Are you planning on joining?

Varun Behl
___________________________________

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2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=Ley6yAZaGp1V6o9iRhQQ_LoQh3MTQAbPxtv‐
bEAiekI&s=PYC_5KcWapzGaama635E‐xbtlfMK4WnVUaRevaYZcfw&e=>




From: Michael Kanach <mkanach@grsm.com<mailto:mkanach@grsm.com>>
Sent: Wednesday, December 18, 2019 3:55 PM
To: Varun Behl <Vbehl@hueston.com<mailto:Vbehl@hueston.com>>
Cc: frothrock@shb.com<mailto:frothrock@shb.com>; tbranson@grsm.com<mailto:tbranson@grsm.com>;
hheffner@grsm.com<mailto:hheffner@grsm.com>
Subject: Re: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Varun,
An extension to January 8 is fine.
I am free Friday morning at 11:30. Does that work.

‐MIKE

Sent from my iPhone

On Dec 18, 2019, at 3:47 PM, Varun Behl
<Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com>>>
wrote:


Thanks Mike. Are you also available for a call on Friday morning? I am not sure whether Frank is available tomorrow. I
am available either tomorrow or Friday morning.

I am fine extending this dispute into the New Year to avoid holiday briefing, but need VPX to confirm an extension of
Monster’s deadline to file a motion to quash. Will you agree to move Monster’s deadline to file a motion to quash to
January 8? If we don’t hear from you by 5 p.m. this afternoon, we will assume you agree to this extension. I am available
for a call this afternoon if you would like to discuss.

I don’t think we need to agree to a briefing schedule yet, because the first step would be a conference before the Court.

Best,
Varun

Varun Behl
___________________________________

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                                                                                           Exhibit 6, Page 55
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2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=JMIPY‐sIL3u‐
im8IWmpJx3b3arXKAco5jqI1snvckDA&s=4tWoeT9PTScv0OfH8wojGX1v8hg6‐15h8YFkZ19slBU&e=>




From: Michael Kanach
<mkanach@grsm.com<mailto:mkanach@grsm.com<mailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com>>>
Sent: Wednesday, December 18, 2019 3:27 PM
To: Varun Behl
<Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com>>>
Cc: frothrock@shb.com<mailto:frothrock@shb.com<mailto:frothrock@shb.com%3cmailto:frothrock@shb.com>>;
tbranson@grsm.com<mailto:tbranson@grsm.com<mailto:tbranson@grsm.com%3cmailto:tbranson@grsm.com>>;
hheffner@grsm.com<mailto:hheffner@grsm.com<mailto:hheffner@grsm.com%3cmailto:hheffner@grsm.com>>
Subject: Re: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Hi Varun and Frank,
I can do a call tomorrow.
Does 11am PST work?

Given the holidays, and the recent order pushing out the discovery deadline, let’s find a briefing schedule that works so
the parties aren’t working on briefs over the holidays.
What do you want to propose?

Please also include Tim and Holly on these emails.

Regards, ‐MIKE


Sent from my iPhone

On Dec 18, 2019, at 12:12 PM, Varun Behl
<Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com<mailt
o:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com
>>>> wrote:


Mike,

I wanted to follow up on this email. We have not heard back yet whether Shook has completed its investigation. Will you
be willing to extend Monster’s deadline to file a motion to quash the subpoenas until December 20? And, are you and
Frank available for a follow up call tomorrow?

Otherwise, if we don’t receive confirmation of the extension by 4 pm this afternoon, we will email the magistrate. Please

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also let me know if you are not available on December 30, 31 and/or January 2. If you don’t provide three alternative
dates by 4 pm today, we will assume your are available on those dates.

Thanks,
Varun

Varun Behl
___________________________________

HUESTON HENNIGAN LLP




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Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com<mailto:
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2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=se‐
MHdzRCb6raUNmFUW7AW8X6v4IxxcTzb‐busCjyjI&s=F3YRG7bAWFzve3OOkM‐L8lZWC8gOzYcIb4XBfMzsl18&e=>




On Dec 6, 2019, at 10:33 AM, Rothrock, Frank (SHB)
<frothrock@shb.com<mailto:frothrock@shb.com<mailto:frothrock@shb.com%3cmailto:frothrock@shb.com<mailto:fro
throck@shb.com%3cmailto:frothrock@shb.com%3cmailto:frothrock@shb.com%3cmailto:frothrock@shb.com>>>>
wrote:


Mike: I do not understand your email. During our call on Wednesday, there was no agreement to provide a privilege log
as to any of the requests, let alone Request No. 2. My comments during the call, which are accurately summarized in
Varun's email of December 4, made no commitment to respond to the subpoenas beyond the previously served Joint
Objections. As stated in the Joint Objections, and reiterated by me during the call, Request No. 2 seeks information that
is irrelevant and bears no reasonable proportion to the needs of ‐‐ or issues raised by ‐‐ this case, which concerns your
clients' products, not Monster's. My comments regarding privileged information related to Request No. 16. Pending
resolution of the Motion to Quash, we will not be providing a privilege log or further responses to the subpoenas. Frank


Frank C. Rothrock
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949.475.1505 |
frothrock@shb.com<mailto:frothrock@shb.com<mailto:frothrock@shb.com%3cmailto:frothrock@shb.com<mailto:frot

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949.533.6326 cell

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3A__www.shb.com_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=se‐MHdzRCb6raUNmFUW7AW8X6v4IxxcTzb‐
busCjyjI&s=sDcMPRZNukQZS32ooJwklAJ0bUivQoe13dPT5015s6A&e=>
<https://urldefense.proofpoint.com/v2/url?u=http‐
3A__www.shb.com_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐
j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=se‐MHdzRCb6raUNmFUW7AW8X6v4IxxcTzb‐
busCjyjI&s=sDcMPRZNukQZS32ooJwklAJ0bUivQoe13dPT5015s6A&e=>
<mime‐attachment.jpg>




From: Varun Behl
<Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com<mailt
o:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com
>>>>
Sent: Thursday, December 5, 2019 1:17 PM
To: Michael Kanach
<mkanach@grsm.com<mailto:mkanach@grsm.com<mailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com<mailt
o:mkanach@grsm.com%3cmailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com
>>>>; Rothrock, Frank (SHB)
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m<mailto:FROTHROCK@shb.com%3cmailto:FROTHROCK@shb.com%3cmailto:FROTHROCK@shb.com%3cmailto:FROTH
ROCK@shb.com>>>>
Cc: Michael Todisco
<mtodisco@hueston.com<mailto:mtodisco@hueston.com<mailto:mtodisco@hueston.com%3cmailto:mtodisco@huest
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heffner@grsm.com%3cmailto:hheffner@grsm.com%3cmailto:hheffner@grsm.com%3cmailto:hheffner@grsm.com>>>
Subject: RE: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles


EXTERNAL
Michael,

Thanks for the extension.

As I noted during our call, Monster intends to move to quash the subpoenas. We do not believe it is appropriate for
Shook or Mr. Miles to provide a privilege log until (if necessary) the Court has an opportunity to address Monster’s
motion to quash.

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                                         #:3950
Best,
Varun

Varun Behl

___________________________________

HUESTON HENNIGAN

LLP




D: 213.788.4525<tel:213.788.4525>

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hueston.com>>>>

Biography<https://urldefense.proofpoint.com/v2/url?u=https‐3A__www.hueston.com_attorney_varun‐
2Dbehl_&d=DwMFaQ&c=f_a5GUMXoHxU9qrd_Nsg1PnqS‐j5caRJn92wWy7kEGQ&r=MYv17hpjO194l35ZNkhBVw&m=se‐
MHdzRCb6raUNmFUW7AW8X6v4IxxcTzb‐busCjyjI&s=F3YRG7bAWFzve3OOkM‐L8lZWC8gOzYcIb4XBfMzsl18&e=>




From: Michael Kanach
<mkanach@grsm.com<mailto:mkanach@grsm.com<mailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com<mailt
o:mkanach@grsm.com%3cmailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com%3cmailto:mkanach@grsm.com
>>>>
Sent: Thursday, December 5, 2019 11:33 AM
To: Varun Behl
<Vbehl@hueston.com<mailto:Vbehl@hueston.com<mailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com<mailt
o:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com%3cmailto:Vbehl@hueston.com
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frothrock@shb.com<mailto:frothrock@shb.com<mailto:frothrock@shb.com%3cmailto:frothrock@shb.com<mailto:frot
hrock@shb.com%3cmailto:frothrock@shb.com%3cmailto:frothrock@shb.com%3cmailto:frothrock@shb.com>>>
Cc: Michael Todisco
<mtodisco@hueston.com<mailto:mtodisco@hueston.com<mailto:mtodisco@hueston.com%3cmailto:mtodisco@huest
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Subject: RE: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Varun,
Thanks for your email and your time on the call yesterday.

You proposed VPX agree extend the date for Monster to file a motion to quash related to the Shook Hardy and Mr. Miles
subpoenas until Dec 18.
While we want this issue resolved quickly, we will agree to your requested extension, and we hope that prior to that
time Mr. Rothrock and his team will be complete with their investigation and can provide more definitive answers as to
the categories of responsive documents that Shook Hardy and Mr. Miles have in their possession, custody, or control.

My understanding regarding Request No. 2, is that there are responsive documents that are being withheld based on
privilege.
If a privilege log is provided, we may be able to evaluate the basis for the asserted privilege.
Can we expect a privilege log prior to December 12 (a week from today)?

Regards, ‐MIKE

________________________________
Michael D. Kanach | Partner

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@hueston.com>>>>>
Sent: Wednesday, December 4, 2019 2:19 PM
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Subject: Monster/VPX ‐ VPX's Subpoenas to Shook and Marc Miles

Mike and Frank,

Thanks for the call this morning regarding VPX’s subpoenas to Monster’s former counsel (Shook Hardy and Marc Miles).

This email summarizes our discussion (though if either of you wishes to supplement or modify any of the below, please
feel free to do so):

1. I reiterated Monster’s position that VPX’s subpoenas to Shook and Miles improperly: (1) harass Monster’s prior
counsel; (2) seek information protected by the attorney‐client privilege, attorney‐work product privilege, and/or
common‐interest privilege; and (3) seek information that is irrelevant to the claims and defense in this lawsuit.

2. Mike stated that VPX disagreed with Monster’s positions (as you did during the previous call we had on this topic).
VPX believes that these subpoenas: (1) do not seek privileged information; and (2) seek relevant information; and (3) are
proper based on Shook’s prior disqualification and Marc Mile’s public statements. I invited VPX to further supplement its
position (if it wishes to do so) in response to this email.

3. Frank explained that Shook and Miles are still completing their investigation to search for potentially‐responsive
documents. Based on their initial and ongoing review and subject to their objections, (1) Shook does not believe it has
documents responsive to RFPs 1 or 3‐14; (2) Shook is standing on its objections with respect to RFP 2; (3) Shook
potentially could have publicly available documents (e.g., Law 360 articles) responsive to RFP 15, but does not believe it
has any other documents in response to this RFP; and (4) Shook believes any documents responsive to RFP 16 would be
privileged. Shook will follow up with its ESI specialist to provide definitive answers, but does not know at this point how
long that process will take.

4. Monster noted that its deadline to submit a motion to quash to Judge Kewalramani is Monday, December 9. So
Monster intends to email Judge Kewalramani this Friday, December 6 to preserve its rights. You stated that VPX will
consider stipulating to December 18, 2019 as Monster’s deadline to submit a motion to quash, so that the parties can
first hear from Shook regarding whether such documents exist. Please provide its position on a stipulation by Thursday,
December 5 at 8 pm. If Monster does not hear from VPX by that time, it will proceed submitting its motion to quash.

5. The parties also discussed the timing for the pre‐motion informal discovery conference with Judge Kewalramani.

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Monster and Shook are available December 16, 17, and 18. Monster asked VPX to let it know by Thursday, December 5
at 8 pm if those dates do not work in the event that VPX does not agree to stipulate to an extension of Monster’s
deadline. If so, please provide three alternative dates that work for VPX pursuant to Judge Kewalramani’s procedures.

Regards,
Varun
Varun Behl

___________________________________

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